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                                                   No. 25-3727

                                         __________________________

                                  UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT

                                         _________________________

                                                NEWSOM, et al.,

                                                               Plaintiffs-Appellees,

                                                        v.

                                                 TRUMP, et al.,

                                                              Defendants-Appellants

                                      _______________________________

                                  On Appeal from the United States District Court
                          for the Northern District of California, No. 3:25-cv-04807-CRB

                                     ________________________________

                        MOTION FOR LEAVE TO FILE BRIEF OF AMICUS CURIAE
                        CALIFORNIA CONSTITUTION SCHOLARS IN SUPPORT OF
                                  APPELLEES AND AFFIRMANCE
                                 ________________________________

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                                 Amicus Curiae California Constitution Scholars
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                        Non-parties David A. Carrillo and Brandon V. Stracener (collectively,

              amicus “California Constitution Scholars”) move for leave of Court under Federal

              Rule of Appellate Procedure 29(a)(2) to appear as amicus curiae and file the

              accompanying Brief of Amicus Curiae California Constitution Scholars in Support

              of Appellees and Affirmance (the “Brief”).

                        Under Circuit Rule 29-3, Amicus has endeavored to obtain the consent of all

              parties to the filing of the Brief before moving the Court for permission to file the

              Brief. Plaintiffs-Appellees consent to the filing of the Brief. Although Defendants-

              Appellants had consented to an earlier version of this brief filed in the lower court

              and state that they “would have consented to a timely amicus brief,” Defendants-

              Appellants now oppose the Brief now based on the unsupported position that the

              Brief “is no longer timely,” as well as the objection that Defendants-Appellants

              “would be prejudiced by having to respond to an untimely brief given the highly

              expedited stay briefing schedule.”

                        Although Amicus appreciates Defendants-Appellees’ concerns about the

              expedited briefing schedule, their position is incorrect — the Brief is timely. This

              Court’s order (DktEntry 10.1) required that “[t]he response to the emergency

              motion” was due on June 15, 2025 at 9:00 AM PDT. But that timing applied to the

              opposing parties’ response, not “any” response or response(s) by amici.




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                        Here, Amicus made its request for consent within 62 minutes after the filing

              of the Response by the party that the Brief supports (and within one hour of the

              response deadline). Normally, an amicus must file its brief “no later than 7 days

              after the principal brief of the party being supported is filed.” FED. R. APP.

              29(a)(6). An amicus filing its brief after the brief of the party it supports allows the

              amicus time to eliminate (or at least reduce) redundancy with party briefing, to the

              benefit of the Court and all parties. Thus, waiting for the principal brief to be filed,

              then reviewing that brief quickly and seeking consent for filing is the proper course

              of events. That is what occurred here.

                        Moreover, all parties and the Court will have received this motion and brief

              fewer than 24 hours from the filing of Plaintiffs-Appellees’ response, before

              Defendants-Appellants’ optional reply deadline, and more than a day before

              hearing on the emergency motion. Given the similarity of the earlier brief by

              Amicus in the lower court and the expedited briefing schedule for this motion, the

              conduct of Amicus is timely and the prejudice to parties is minimal.

                        Based on the below explanation of the identity and interest of Amicus,

              required statement under FED. R. APP. 29(a)(4)(E), and Argument explaining the

              value of the Brief to the Court, Amicus has met the requirements of FED. R. APP.

              29(a)(3) and hereby requests the Court grant leave to file the accompanying Brief.




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                               IDENTIFY AND INTEREST OF AMICUS CURIAE

                        Amicus are California constitution and state constitutional law scholars who

              seek to aid this Court in resolving the issues of state sovereignty and federalism

              presented here. We are academics affiliated with the California Constitution Center

              (David A. Carrillo is executive director and Brandon V. Stracener is a senior

              research fellow), a nonpartisan academic research center at the University of

              California, Berkeley, School of Law. The University of California is not party to

              this brief, and our academic titles are for identification only.

                        This brief will assist the Court by addressing the core issue: federalizing a

              state militia is lawful only when conditions set by Congress are met, and a

              president exceeds his powers in attempting to federalize a state militia over a

              governor’s objection without meeting those conditions.

                                 STATEMENT UNDER FED. R. APP. 29(a)(4)(E)

                        Consistent with Federal Rule of Appellate Procedure 29(a)(4)(E), Amicus

              certifies that no party or counsel for any party has authored the Brief, participated

              in its drafting, or made any monetary contributions intended to fund preparation or

              submission of the Brief.

                                                     ARGUMENT

                        This Court has “broad discretion” to grant leave for an amicus curiae to

              appear and file a brief. Foothill Church v. Watanabe, 623 F. Supp. 3d 1079, 1084




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              (E.D. Cal. 2022) (citing Hoptowit v. Ray, 682 F.2d 1237, 1260 (9th Cir. 1982)).

              “‘An amicus brief should normally be allowed’” when “‘[1] the amicus has unique

              information or perspective’” that “‘[2] can help the court beyond the help that the

              lawyers for the parties are able to provide.’” Id. (cleaned up) (citing Cmty. Ass’n

              for Restoration of Env’t (CARE) v. DeRuyter Bros. Dairy, 54 F. Supp. 2d 974, 975

              (E.D. Wash. 1999)). See also Arena v. Intuit Inc., No. 19-CV-02546-CRB, 2020

              WL 7342716, at *1 (N.D. Cal. Dec. 14, 2020) (Breyer, J.) (granting motion to file

              an amicus brief based in part on relevance of amici’s perspective and amici

              litigating claims that overlapped with plaintiffs’ claims); California by & through

              Becerra v. United States Dep’t of the Interior, 381 F. Supp. 3d 1153, 1163-64

              (N.D. Cal. 2019) (explaining that there are “no strict prerequisites” to qualify as

              amicus and that courts generally have “‘exercised great liberality’ in permitting

              amicus briefs”) (citation omitted).

                        First, Amicus has unique information and perspective because they are

              California constitution scholars who have studied, researched, and written on the

              California constitution and the constitutional relationship between federal and state

              government.

                        Second, Amicus can help the Court because Amicus can provide specific

              insights on the conditions for federalizing a state militia and the ability of the

              president to do so over a state governor’s objection.




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                                                   CONCLUSION

                        Amicus California Constitution Scholars respectfully requests leave to

              appear as amicus curiae and file the accompanying Brief.



               DATED: June 16, 2025               Respectfully,



                                                   /s/ Brandon V. Stracener
                                                  David A. Carrillo (State Bar # 177856)
                                                  Brandon V. Stracener (State Bar # 314032)
                                                  Amicus California Constitution Scholars




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                                       CERTIFICATE OF COMPLIANCE

                        This motion does not exceed the length limit set by FED. R. APP.

              27(d)(2)(A).

                        This brief’s type size and typeface comply with FED. R. APP. P. 27(d)

              because this brief has been prepared in proportionally spaced typeface using size-

              14, Times New Roman font in Microsoft Word.


              DATED: June 16, 2025

                                                  By: /s/ Brandon V. Stracener
                                                  David A. Carrillo (State Bar # 177856)
                                                  Brandon V. Stracener (State Bar # 314032)
                                                  Amicus California Constitution Scholars




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                                          CERTIFICATE OF SERVICE

                        I, Brandon V. Stracener, hereby certify under Ninth Circuit Rule 25-

              5(f)-(g) that I electronically filed the foregoing motion (and its accompanying

              brief) on this date with the Clerk of the Court for the United States Court of

              Appeals for the Ninth Circuit using the Appellate Electronic Filing System.

              Participants in the case are registered users of the electronic filing system, and

              service will be accomplished by this system.


              DATED: June 16, 2025

                                                 By: /s/ Brandon V. Stracener
                                                 David A. Carrillo (State Bar # 177856)
                                                 Brandon V. Stracener (State Bar # 314032)
                                                 Amicus California Constitution Scholars




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